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             UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


CALUMET SHREVEPORT REFINING,
LLC, PLACID REFINING COMPANY                      Case No. 22-60266
LLC, AND ERGON REFINING, INC.,
                 Petitioners,
      v.
UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY,
                 Respondent.




           RESPONSE TO EPA’S MOTION TO TRANSFER
                    TO THE D.C. CIRCUIT
    Petitioners Calumet Shreveport Refining LLC, Placid Refining
Company LLC, and Ergon Refining, Inc. each petitioned EPA for hard-
ship relief from the Renewable Fuel Standard (“RFS”) based on the indi-
vidual circumstances of their small refineries in Shreveport, Louisiana
(Calumet), Port Allen, Louisiana (Placid), and Vicksburg, Mississippi
(Ergon). EPA denied each hardship petition, and those denials for each
small refinery are properly reviewed in the corresponding regional cir-
cuit—the Fifth Circuit. This Court sua sponte consolidated each petition
for review, but they represent challenges to individual hardship determi-
nations.
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     EPA prefers review in the D.C. Circuit and argues that each indi-
vidual denial somehow constitutes an EPA action that is “nationally ap-
plicable” and based on a determination of “nationwide scope or effect.”
The Clean Air Act (“CAA”) forbids what EPA is attempting.
     EPA flagrantly violated the small refinery hardship provisions of
the CAA in lumping together individual hardship petitions and evaluat-
ing them en gross. But whatever the merit (or lack thereof) of EPA’s at-
tempt to eliminate hardship relief program-wide, at the end of the day
individual refinery decisions are required and were made. No amount of
cosmetic packaging changes that. The small refineries in Shreveport,
Port Allen, and Vicksburg are entitled to challenge EPA’s adjudication of
their individual hardship petitions in their regional circuit.
     EPA’s motion to transfer should be denied. 1




1 EPA provides no substantive argument for its suggestion that dismissal
is appropriate and repeatedly acknowledges that the issue is venue (as
opposed to jurisdiction). There is no jurisdictional issue here. Texas v.
EPA, 829 F.3d 405, 418 (5th Cir. 2016) (holding that 42 U.S.C.
§ 7607(b)(1)’s “allocation of petitions between the regional circuits and
the D.C. Circuit delineates the appropriate venue for challenges”); Clean
Water Action Council of Ne. Wisc., Inc. v. EPA, 765 F.3d 749, 751 (7th Cir.
2014) (same); Dalton Trucking, Inc. v. EPA, 808 F.3d 875, 879 (D.C. Cir.
2015) (same) (citing Harrison v. PPG Indus., Inc., 446 U.S. 578, 590–91
(1980))). If the Court were to accept, for venue purposes, EPA’s attempt
to eliminate the individual character of small refinery hardship relief,
then the proper course would be to transfer venue to the D.C. Circuit, not
dismiss.


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                               BACKGROUND
      A.    The Renewable Fuel Standard Program and Small
            Refinery Hardship Relief
     On an annual basis, EPA establishes renewable fuel standards,
which represent what percentage of the transportation fuel must be
blended with renewable fuels in a given year. 40 C.F.R. § 80.1405. Parties
subject to the RFS, such as refiners that produce gasoline or diesel fuel,
are obligated to ensure those volume targets are met each year. 42 U.S.C.
§ 7545(o)(3)(B)(ii)(I); 40 C.F.R. §§ 80.1406, 80.1407.
     A party can comply with its obligation by blending renewable fuel
into its gasoline and diesel and/or purchase credits on the secondary mar-
ket representing renewable fuel blended by others. See 40 C.F.R.
§§ 80.1405, 80.1407, 80.1427. But “Congress was concerned that escalat-
ing RFS obligations could work special burdens on small refineries that
lack the inherent scale advantages of large refineries and sometimes sup-
ply a major source of jobs in rural communities.” HollyFrontier Cheyenne
Refin., LLC v. Renewable Fuels Ass’n (HollyFrontier), 141 S. Ct. 2172,
2175 (2021) (internal citation omitted). Congress created a “safety valve,”
id. at 2182, whereby a small refinery is entitled to relief from RFS com-
pliance if it can demonstrate “disproportionate economic hardship,” 42
U.S.C. § 7545(o)(9)(B)(i). 2



2 The Supreme Court’s recent decision in HollyFrontier is the best judi-
cial decision for background on the program and for understanding EPA’s


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     A small refinery may petition EPA for hardship relief “at any time,”
id., and EPA is obligated to grant or deny an individual refinery’s petition
“not later than 90 days after” receiving it, id. § 7545(o)(9)(B)(iii). EPA
decides whether to grant a particular petition after “consult[ing]” with
the U.S. Department of Energy (“DOE”). Id. § 7545(o)(9)(B)(ii).
     For over a decade, EPA’s (and DOE’s) review of hardship petitions
has required small refineries to submit a significant amount of highly
sensitive, confidential information regarding the refinery, including in-
formation about its profitability, income, cash flow, margins, access to
capital, costs of RFS compliance, blending capacity, and sales and distri-
bution networks. DOE evaluates and scores each small refinery’s petition
individually and makes a recommendation concerning how EPA should
rule on it. See Lion Oil Co. v. EPA, 792 F.3d 978, 980 (8th Cir. 2015); 42
U.S.C. § 7545(o)(9)(B)(ii).
     After consulting with DOE, EPA decides each refinery’s hardship
petition. 42 U.S.C. § 7545(o)(9)(B)(ii). EPA’s decision is refinery-specific;
the agency must determine whether that particular small refinery would
suffer “disproportionate economic hardship” if forced to comply with the
RFS for the compliance year in question. If EPA grants an exemption,
then that particular small refinery is relieved of its RFS obligation for the
year. Id. § 7545(o)(9)(A)–(B).

now-repeated attempts to impermissibly take administrative action that
ignores the statutory provisions on small refinery hardship relief.


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     B.    Judicial review under the Clean Air Act
     Judicial review of challenges under the CAA are governed by 42
U.S.C. § 7607(b)(1). It provides three rules for venue of judicial chal-
lenges to particular types of EPA action:

     • D.C. Circuit only. Challenges to certain types of
       standards promulgated under enumerated CAA
       provisions may only be brought in the D.C. Circuit.

     • Regional Circuit only. Other types of “action,” including
       disapprovals and denials, which are “locally or regionally
       applicable may be filed only in the United States Court of
       Appeals for the appropriate circuit.”

     • D.C. Circuit only where action of “nationwide scope
       and effect.” Notwithstanding the previous rule, “a
       petition for review of any action referred to in such
       sentence may be filed only in the [D.C. Circuit] if such
       action is based on a determination of nationwide scope or
       effect and if in taking such action the Administrator finds
       and publishes that such action is based on such a
       determination.”

Id. (emphasis added). Section 7607(b)(1) is thus a “‘two-fold provision’
that is both ‘a conferral of jurisdiction upon the courts of appeals’” gener-
ally, and a “requirement that ‘delineates the appropriate venue for chal-
lenges.’” State v. EPA, 983 F.3d 826, 833 (5th Cir. 2020) (quoting Texas
v. EPA, 829 F.3d 405, 418 (5th Cir. 2016)). Importantly, “[t]he court—not
EPA—determines both the scope of an action’s applicability and whether
it was based on a determination of nationwide scope or effect.” Id.




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     C.    EPA’s initial decisions on 2018 Hardship Petitions
     Since the beginning of the RFS program, EPA has issued a separate
decision document for each small refinery hardship petition. See, e.g., Er-
gon-W. Virginia, Inc. v. EPA (“Ergon II”), 980 F.3d 403, 422 (4th Cir.
2020); Renewable Fuels Ass’n v. EPA, 948 F.3d 1206, 1214, 1226–30 (10th
Cir. 2020), rev’d, HollyFrontier, 141 S. Ct. 2172 (2021), and vacated, 2021
WL 8269239 (10th Cir. Jul. 27, 2021); Ergon-W. Virginia, Inc. v. EPA
(Ergon I), 896 F.3d 600, 608–09 (4th Cir. 2018); Sinclair Wyoming Refin.
Co. v. EPA, 887 F.3d 986, 992 (10th Cir. 2017); Lion Oil, 792 F.3d at 980.
Importantly, some petitions are approved, and some are not. And when
decisions in the above-cited cases were challenged, EPA did not seek
transfer to the D.C. Circuit. For the 2018 hardship decisions, however,
EPA began taking a different tack.
     Petitioners formally requested 2018 hardship relief in 2018. For ex-
ample, Ergon’s Vicksburg refinery requested relief on December 20, 2018.
Email from Perkins Coie to EPA (Dec. 20, 2018) (confidential attach-
ments omitted), attached as Exhibit A. EPA’s statutory deadline to decide
Ergon’s petition was March 20, 2018. 42 U.S.C. § 7545(o)(9)(B)(iii). 3 EPA
ignored that deadline. Instead, EPA waited to announce all the agency’s




3 Calumet’s Shreveport, Louisiana refinery and Placid’s Port Allen, Lou-
isiana refineries sought hardship relief on October 2 and August 31,
2018, respectively. Thus, EPA’s statutory deadlines to decide their peti-
tions were December 31, 2018, and November 29, 2018, respectfully.


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2018 hardship decisions on the same day, August 9, 2019—nearly five
months late. EPA granted 31 petitions and denied 5.
     Although all 36 decisions were announced on the same day, each
small refinery received an individual determination based on the facts
and circumstances unique to its individual refinery, see, e.g., Email from
B. Bunker (Aug. 9, 2019), attached as Exhibit B, and separately provided
each refinery with DOE’s evaluation and scoring of their individual peti-
tion, see, e.g., Email from B. Bunker (Aug. 28, 2019) (confidential attach-
ments omitted), attached as Exhibit C. Most 2018 petitions, like Petition-
ers’, were granted. But EPA packaged all 36 decisions—grants and deni-
als—into what it claimed was a single agency action by sending each re-
finery an unpublished, two-page agency memorandum that contained a
high-level summary of how EPA decided the 2018 hardship petitions.
Memorandum regarding Decision on 2018 Small Refinery Exemption Pe-
titions (dated Aug. 9, 2019), attached as Exhibit D.
     Based on that unpublished, agency memorandum, EPA represented
that the individual denials were collectively a single, nationally applica-
ble decision. See, e.g., EPA’s Memorandum Regarding Transfer, Wynne-
wood Refin. Co., LLC v. EPA (Wynnewood), No. 19-9589 (10th Cir. Mar.
24, 2020). Because EPA unlawfully issued the 2018 hardship decisions
late and represented that they were a single decision, biofuel industry
groups were able to challenge EPA’s unpublished memorandum in the
D.C. Circuit as a vehicle for attempting to overturn all of EPA’s grants of


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2018 hardship relief. Renewable Fuels Ass’n v. EPA, No. 19-1220 (D.C.
Cir.).
     In contrast, individual small refineries that were denied relief or
otherwise harmed by EPA’s original 2018 hardship decisions petitioned
for review in their regional circuits. See, e.g., Wynnewood, No. 19-9589.
EPA, changing position from its previous assent to regional circuit re-
view, sought to stay or transfer all regional-circuit challenges in favor of
the D.C. Circuit. See, e.g., id., EPA’s Memorandum Regarding Transfer
(Mar. 24, 2020).

         D.   The Tenth Circuit’s decision in Renewable Fuels
              Association and the Supreme Court’s reversal.
     In 2020, the Tenth Circuit ruled on a biofuel industry challenge to
three 2016–2017 hardship grants, vacating and remanding them to the
agency. Renewable Fuels Ass’n, 948 F.3d at 1258. As part of that decision,
the court held that only small refineries that consistently received hard-
ship relief from 2006 onward were eligible for relief in 2016 or 2017 (or
any other year). Id. at 1245–49. Small refineries sought certiorari and
the Supreme Court granted the writ on that eligibility question. Hol-
lyFrontier, 141 S. Ct. at 2176.
     Shortly after the Court granted review, EPA changed its position on
the merits. “With the recent change in administrations,” id. at 2180, EPA
sought to dramatically reduce the eligibility for small refinery hardship
relief and decided to defend the Tenth Circuit’s vacatur of EPA’s own



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grants of relief. The Supreme Court rejected EPA’s gambit, reversed the
Tenth Circuit, and ruled that Congress “expressly contemplate[d]” the
existence of small refinery hardship relief in perpetuity. Id. at 2180–81.
     Although the Supreme Court only reversed a portion of the Tenth
Circuit opinion (the statutory question under review), the Tenth Circuit
subsequently vacated its entire judgment and remanded to the agency.
Renewable Fuels Ass’n v. EPA, No. 18-9533, 2021 WL 8269239, at *1
(10th Cir. July 27, 2021), judgment entered, 854 F. App’x 983 (10th Cir.
2021). Despite the Tenth Circuit’s vacatur, EPA has repeatedly (and in-
correctly) argued as though it is responding to and being directed by the
Tenth Circuit’s prior judgment.

     E.    D.C. Circuit abeyance and remand of 2018 hardship
           grants
     After the Supreme Court granted certiorari in HollyFrontier, the
D.C. Circuit held the 2018 challenges in abeyance before briefing was
complete. Renewable Fuels Ass’n, No. 19-1220, Order Granting Abeyance
(Feb. 17, 2021). The D.C. Circuit never addressed the venue question be-
cause, after the Supreme Court ruled against EPA in HollyFrontier, EPA
asked the D.C. Circuit for a voluntary remand without vacatur of the
2018 decisions. Denials at 16. The D.C. Circuit granted that request. Id.

     F.    EPA’s retroactive reversal of 2018 hardship relief
     On remand, and years after initially granting 2018 hardship relief
to each Petitioner, EPA reversed course, fundamentally transforming its



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prior approach to evaluating small refinery hardship petitions. See April
2022 Denial of Petitions for RFS Small Refinery Exemptions (“Denials”),
87 Fed. Reg. 24300 (Apr. 25, 2022). 4 In particular, EPA elected to ignore
the scoring matrix that DOE had used (and EPA had relied upon) to make
its recommendations for nearly a decade, Denial at 23–24, and replaced
it with a purported “economic theory,” Denial at 30.
     Based on this new approach, EPA denied the “36 pending peti-
tions”—31 of which, including for the refineries in Shreveport, Port Allen,
and Vicksburg, had previously been granted. Denials at 20. But once
again, EPA attempted to package these individual “adjudications of 36
[hardship] petitions” into what it claims is a “single” nationally applica-
ble action. Denials at 1, 71. Notwithstanding that packaging, EPA sent
each small refinery separate “confidential, refinery-specific appendices.”
Denials at 29.
     Alternatively, EPA asserts that, while these denials are locally or
regionally applicable, they are based on determinations of nationwide
scope or effect. Denials at 71–72. Either way, EPA claims that this action
“must be filed” in the D.C. Circuit and moves to transfer or dismiss as a
result. See generally Mot. to Transfer; see also Denial at 71–72. Because



4EPA published only the notice of Denials in the federal Register. The
text of the Denials themselves can be found at https://ne-
pis.epa.gov/Exe/ZyPDF.cgi?Dockey=P1014EG4.pdf. Citations to the De-
nials reference the pagination of the document found at that website.


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EPA asked, in the alternative, for this Court to dismiss these appeals,
Petitioners took the precautionary step of filing protective petitions of
review in the D.C. Circuit on July 24, 2022 (the statutory deadline to
appeal). Calumet Montana Refin., LLC, et al. v. EPA, No. 22-1129 (D.C.
Cir. June 24, 2022); Ergon Refin., Inc. v. EPA, No. 22-1131 (D.C. Cir. June
24, 2022); Placid Refin. Co. LLC v. EPA, No. 22-1134 (D.C. Cir. June 24,
2022).
                              ARGUMENT
     Petitioners have a clear legal right to challenge EPA’s retroactive
denials of their 2018 hardship petitions in each refinery’s regional circuit.
The Denials are, as a matter of law, locally or regionally applicable and
must be based on individual, not national, determinations. To assert that
somehow individual adjudications for refineries in Shreveport, Port Al-
len, and Vicksburg were “national,” EPA violated the statute in multiple
ways, from failure to meet the statutory 90-day deadline to failure to fol-
low the individualized process of evaluation required by the CAA.

I.   Historically, EPA has agreed that petitions by individual
     small refineries must be heard in regional circuits.
     Prior to the initial 2018 decisions, EPA had always taken the posi-
tion that venue is proper in the regional circuits, not the D.C. Circuit.
Indeed, EPA has conceded as much. Wynnewood, No. 19-9589, EPA’s
Memorandum Regarding Transfer, at 10 (“[T]he Eighth Circuit was the
proper venue for review of an EPA action denying an RFS hardship



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exemption for a single Arkansas refinery because that action was locally
applicable to the single refinery” (citing Lion Oil, 792 F.3d at 982)); Er-
gon-W. Virginia, Inc. v. EPA, Nos. 19-2128, 19-2148, 19-2152 (consol.)
(4th Cir.), EPA’s Resp. Br. at 2–3 (stating that the challenge to the denial
of a hardship petition was “properly venued in” the Fourth Circuit “be-
cause the action is locally or regionally applicable”).
     Those statements were supported by EPA’s long-established prac-
tice of not seeking transfer in hardship-petition cases filed in the regional
circuits. See, e.g., Ergon II, 980 F.3d at 422 (2020); Renewable Fuels Ass’n,
948 F.3d 1206 (2020); Ergon I, 896 F.3d 600 (2018); Sinclair, 887 F.3d
986 (2017); Lion Oil Co., 792 F.3d 978 (2015). In fact, EPA is currently
litigating the denial of a 2019 hardship petition in a regional circuit with-
out challenging venue. See United Refin. Co. v. EPA, No. 21-3218 (3d
Cir.).
     Petitioners have thus filed where these challenges historically have
been filed and where EPA historically has agreed is the proper venue.
EPA has now apparently decided that it would prefer to be in the D.C.
Circuit, and it has bundled various individual adjudications together in
an omnibus decision announcement to that end. As explained below, this
“transparent sleight of hand” should be rejected. Dalton Trucking, Inc. v.
EPA, 808 F.3d 875, 881 (D.C. Cir. 2015).




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II.   EPA’s illegal conduct does not change the nature of a
      hardship denial.
      As already noted, EPA concedes that action on an individual hard-
ship petition is locally or regionally applicable. Despite the inherently
local and/or regional nature of hardship petitions, EPA argues that these
2018 denials are different. According to EPA, the Denials are a single
national action because the reasoning is categorical and applies to refin-
eries all over the country. Mot. at 11–15. But both the bundling of all
hardship petitions together and applying EPA’s purported categorical
reasoning could only be achieved by violating the CAA.
      The illegal bundling. Congress required EPA to decide Petition-
ers’ 2018 petitions “not later than 90 days after” receiving them. 42
U.S.C. § 7545(o)(9)(B)(iii). Had it done so, it is undisputed that
§ 7607(b)(1) designates this Court as the proper venue for their challenge.
Wynnewood, No. 19-9589, EPA’s Memorandum Regarding Transfer, at
10; Ergon-W. Virginia, Nos. 19-2128, 19-2148, 19-2152 (consol.), EPA’s
Resp. Br. at 2–3. Instead, EPA did not issue those decisions until the
statutory time period had lapsed nearly three times over so that it could
bundle them with more than 30 other decisions. Absent that unlawful
delay and bundling, biofuel industry challenges to Petitioners’ original
grants would have had to proceed one-by-one in regional circuits. Instead,
EPA’s unlawful delay resulted in all 36 individual determinations being
remanded to the agency after HollyFrontier.




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     The purported categorical reasoning. When Congress provided
for hardship relief for small refineries, it made clear that EPA would
grant or deny relief to individual refineries based on determinations of
refinery-specific hardship. 42 U.S.C. § 7545(o)(9)(A)(ii)(II), (o)(9)(B). The
statute is clear: “A small refinery may at any time petition” for hardship
relief “for the reasons of disproportionate economic hardship.” Id.
§ 7545(o)(9)(B)(i) (emphasis added). And Congress instructed EPA to
evaluate each petition to determine whether “a petition” demonstrates
hardship. Id. § 7545(o)(9)(B)(ii) (emphasis added). Even in giving EPA a
deadline for responding to petitions, Congress spoke in the singular: “not
later than 90 days after the receipt of the petition.” Id. § 7545(o)(9)(B)(iii)
(emphasis added). Once filed, as EPA acknowledges, evaluation of a hard-
ship petition must be based on “data, contracts, and other information”
received “from small refineries” relevant to their individual hardship pe-
titions. Denials at 25, 29. (And EPA tacitly acknowledged this when it
sent each small refinery separate “confidential, refinery-specific appen-
dices.” Denials at 29.) In other words, the Denials are and must be indi-
vidualized, or they are unlawful.
     EPA stunningly admits that it disregarded the statute in adjudicat-
ing individual petitions, yet it asks this Court to reward its lawlessness
with the forum of its choice:




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     The April 2022 Denial Action made no unique or individual-
     ized findings as to the ability of any of the thirty-six petition-
     ing refineries to recover the costs of RFS compliance, and EPA
     did not adjust its statutory interpretation and economic the-
     ory to the particulars of any specific small refinery, or the re-
     gion in which a refinery operates. The April 2022 Denial Ac-
     tion is therefore nationally applicable.
Mot. at 13 (emphasis added).
     EPA cannot change the statutorily mandated individual pro-
cess―and the venue determinations that come with it―by disregarding
its statutory obligations. The CAA requires EPA to consider whether an
individual refinery suffers hardship. EPA, by its own admission, issued
36 denials of hardship petitions, Denials at 1; those necessarily must be
individual.
     Perhaps a bit self-conscious after admitting it broke the law, EPA
tells this Court that it cannot look behind the curtain at “the validity of
an action,” but must limit its review to “the ‘face’ of” the Denials. Mot. at
11–12. This appears to be EPA’s way of saying “just take our word for it.”
But Congress has empowered courts, not the agency, to determine “the
scope of an action’s applicability.” State, 983 F.3d at 833. The D.C. Circuit
likewise does not defer to EPA’s determinations of “national applicabil-
ity.” See Dalton Trucking, 808 F.3d at 881. The Denials are locally and
regionally applicable. The only “national” thing about them is that EPA
packaged them in a single federal document (and even that is offset by
EPA’s distribution of individual, confidential appendices).




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     To be sure, in some circumstances courts have said that they “look
only to the face” of the agency action to determine venue under
§ 7607(b)(1). Am. Rd. & Transp. Builders Ass’n v. EPA, 705 F.3d 453, 456
(D.C. Cir. 2013). But those courts juxtapose “the face” of the agency action
with the “practical effects” of that action. Id. Nothing in those opinions
gives any indication that “looking to the face” of an action means turning
a blind eye to EPA’s illegal manipulation of the circumstances.
     EPA does not provide any authority to support its position that this
Court is prohibited from considering “the validity” of the denials. See Mot.
at 12. Further, it cannot be Congress’ intent to deprive Petitioners of
venue in their regional circuits so long as EPA can argue that its illegality
is not on “the face” of its action. But even if this Court were required to
engage in such willful ignorance, that cannot extend to EPA’s admission
of not performing the individualized determinations required by the
CAA. See Mot. at 14-15.
     If, because of the nature of hardship denials, this Court believes that
venue and the merits are too intertwined, Petitioners would not object to
this motion being referred to the merits panel for a joint resolution of
venue and the merits. EPA has previously acquiesced to the D.C. Circuit’s
handling transfer motions this way; 5 the agency will presumably remain
consistent here.


See Order, Sinclair Wyoming Refin. Co. v. EPA, No. 19-1196 (D.C. Cir.
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Mar. 3, 2020); EPA’s Memorandum Regarding Transfer to the D.C.


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III. This Court—not EPA—decides whether the Denials are
     based on a determination of nationwide scope or effect.
     “Because the [Denials are] locally or regionally applicable action[s],
the default presumption of § 7607(b)(1) requires review in this circuit.”
Texas, 829 F.3d at 424. To overcome that presumption, EPA must estab-
lish “two conditions” set out in the text of § 7607(b)(1). Id. at 421. EPA
must establish that both the Denials are “based on a determination of
nationwide scope or effect and . . . the Administrator f[ound] and pub-
lishe[d] that [the Denials are] based on such a determination.” 42 U.S.C.
§ 7607(b)(1) (emphasis added); see also Texas, 829 F.3d at 421. Although
EPA has satisfied the second condition, Denials at 71–72, “the first con-
dition controls the role of the court,” Texas, 829 F.3d at 421.
     EPA’s position improperly seeks to cut courts out of the venue anal-
ysis entirely. EPA claims it has “complete discretion,” Denials at 71–72,
and that this Court must “defer[] to EPA’s determination of nationwide
scope or effect.” Mot. at 17. This Court has rejected EPA’s position. Under
§ 7607(b)(1), the Court “must make an independent assessment of the
scope of the determinations just as [this Court] make[s] an independent
assessment of the applicability of the [Denials].” Texas, 829 F.3d at 421.
EPA’s only authority to the contrary is a nonprecedential per curium or-
der that is not even binding on the D.C. Circuit, much less this Court.
Mot. at 17–18 (citing Alcoa, Inc. v. EPA, No. 04-1189, 2004 WL 2713116

Circuit, Wynnewood Refin. Co. v. EPA, No. 19-9589, at 3 (10th Cir. Mar.
24, 2020) (citing Order, Sinclair Wyoming Refin., No. 19-1196).


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(D.C. Cir. Nov. 24, 2004)). The plain text of the statute and binding deci-
sions of this Court disagree. Texas, 829 F.3d at 421; cf. Dalton Trucking,
808 F.3d at 881–82 (refusing to defer to EPA’s published finding of na-
tional applicability).
     Having lost under the statute’s text, EPA retreats to policy argu-
ments. Mot. at 17–20. EPA cautions that if this case does not proceed in
the D.C. Circuit, “multiple circuits [will] review the merits of the meth-
odology that EPA applied” and “reach different outcomes, a result that
Congress sought to avoid,” and EPA will “face the hardship of having to
litigate the same merits arguments simultaneously in multiple cases in
multiple circuits.” Mot. at 16–17, 19.
     What EPA is describing is precisely how hardship petitions have al-
ways been adjudicated, see, e.g., Ergon II, 980 F.3d 403; Renewable Fuels
Ass’n, 948 F.3d 1206; Ergon I, 896 F.3d 600; Sinclair, 887 F.3d 986; Lion
Oil Co., 792 F.3d 978, and how Congress intended for refinery-specific
decisions to be reviewed, see 42 U.S.C. § 7545(o)(9)(A)(ii)(II), (o)(9)(B).
Though EPA may prefer to make only one decision instead of 36, and
litigate only one case in its preferred forum, that is not the statute Con-
gress wrote. If Congress “sought to avoid” any result, it is the result that
EPA seeks here: a procedural reward for the agency’s refusal to follow
the congressionally prescribed scheme for adjudicating individual hard-
ship petitions.




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     EPA also contends that the Denials should be reviewed in the D.C.
Circuit because “any arguments that Petitioners could make in this case
would be inextricably intertwined with arguments applicable to all the
other denials from other regions because they were based on the same
rationale and methodology.” Mot. at 16. Although there will likely be
some overlap, Petitioners’ chief objection to the Denials is EPA’s mishan-
dling of their individual circumstances in denying their petitions. After
all, EPA’s evaluation of a hardship petition is based on confidential “data,
contracts, and other information” received “from small refineries” rele-
vant to their individual hardship petitions. See Denials at 25, 29. Refin-
ery-specific arguments based on refinery-specific facts are unlikely to
overlap. Indeed, lumping all 36 small refineries into a single D.C. Circuit
action would obscure their unique circumstances of hardship and could
effectively deprive them of their day in court.
     Admittedly, different circuits may reach different results as to dif-
ferent small refineries, but that is by design. The individualized nature
of hardship petitions means that some small refiners may obtain relief,
and others may not. To the extent these different outcomes are not due
to refinery-specific facts, our legal system has provided a final national
arbiter to resolve these disagreements in the Supreme Court. And that
Court is more than capable of correcting EPA’s mistakes in small refinery
cases originating in regional circuits. See HollyFrontier, 141 S. Ct. 2172.




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     With EPA’s deference arguments squared away, the question of
venue has been resolved. EPA put all its eggs in the deference basket.
See Mot. at 15–20. Besides the policy arguments supporting its demand
for deference, EPA does not explain or offer any other argument for why
this Court should conclude that the Denials were based on determina-
tions of nationwide scope or effect. “Because we said so” is not enough for
EPA to overcome § 7607(b)(1)’s presumption of review in this Court.
Texas, 829 F.3d at 421, 424. EPA will undoubtedly attempt to rectify this
in its reply, but any such argument is foreclosed. Dixon v. Toyota Motor
Credit Corp., 794 F.3d 507, 508 (5th Cir. 2015) (“Arguments raised for
the first time in a reply brief are waived.”). As EPA notes, this is a ques-
tion of venue, and venue can be waived. See City of New Orleans v. Mun.
Admin. Servs., Inc., 376 F.3d 501, 504 (5th Cir. 2004).
                             CONCLUSION
     For the reasons stated, EPA’s motion should be denied.




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                 CERTIFICATE OF COMPLIANCE

     This motion complies with: (1) the type-volume limitation of Fed-

eral Rule of Appellate Procedure 27(d)(2)(A) because it contains 4,563

words, excluding the parts exempted by Rule 27(a)(2)(B); and (2) the type-

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                      CERTIFICATE OF SERVICE

     I hereby certify that on July 5, 2022, I electronically filed the fore-

going with the Clerk of the Court for the United States Court of Appeals

by using the CM/ECF system. I certify that all participants in the case

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